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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:04CR3022-2
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )          MEMORANDUM
                                               )          AND ORDER
JULIE ANN KOLB,                                )
                                               )
                     Defendant.                )

      This matter comes on to consider the government’s request for hearing on Rule 35(b)
motion (filing 73). Having considered the matter,

       IT IS ORDERED that:

       (1)    The government’s request for hearing on Rule 35(b) motion (filing 73) is
granted.

       (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 68) has been set before the undersigned United States district judge at 8:45
a.m., Friday, October 7, 2005, in Courtroom No. 1, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)   At the request of the defendant through her counsel, and with the agreement
of the government, the defendant may be absent from the hearing on the Rule 35 motion.

       (4)    The Marshal is directed not to return the defendant to the district.

       (5)    The defendant is held to have waived her right to be present.

       September 29, 2005.                         BY THE COURT:

                                                   s/ Richard G. Kopf
                                                   United States District Judge
